Case 1:1_8-cv-01105-I\/|N Document 12 Filed 10/12/18 Page 1 of 3 Page|D #: 211

AO 440 (Rev. 06/12) Summons in a Civil Action

 

U`NITED STATES DISTRICT COURT

 

 

for the
District of Delaware
Riggs Techno|ogy Ho|c|ings, LLC §
)
)
Plaint§j'(s') )
v. § Civil Action No. 1 r18-cv-D1105-MN
Medscape, LLC )
)
)
.__ __ )
Defendan((s) )

SUMMONS IN A ClVIL ACTION

TOZ (Defendan!'s name andadd)'ess) MEdSCape, LLC
c/o Corporation Service Company
251 Litt|e Fa||s Drive
Wf|mington, DE 19808

A lawsuit has been filed against you.

Within 21 days after service of this Summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the F ederal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintist attorney,
whose name and address are: lsaac Rabicoff

Rabicoff Law LLC
73 W. Monroe St.
Chicago, |L 60603

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

CLERK OF COURT

UCT 1 2 2018

  

Date:
Sigrm£ure OfC/e."k or D

 
 

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AO 440 (Rcv. 06/12) SLurimons in a Civil Action (Page 2)

 

 

Civil Action No.1l1B“CV'O1105-MN

PROOF OF SERVlCE
(This section should not be_ffled with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and tir.'e, ifm:y) |Vledscape, LLC

was received by nic on (date) 10/12/2018

CI l personally served the summons on the individual at g)lace)

011 (date) § OI'

 

13 l left the Surnmons at the individual’s residence or usual place of abode with (mme)

, a person of suitable age and discretion who resides therc,

 

on (a!are) , and mailed a copy to the individual’s last known address; or

ill I served the summons on emma ofina':'viduau Lynanne Gares~ Authorized to accept , Who is

 

designated by law to accept service of process on behalf of (name ofo)-gam'zarion) Corporation Service Company

 

251 Little Fa||s Drive, Wilm'lngton, DE 19§08 @3:06 p.m;__ 011 (d&'f€) 10/12/2018 § Ol‘

 

l:| l returned the summons unexecuted because or

l:.l thCI' Cs‘pecij§)):

My fees are $ for travel and $ for services, for a total of $ 0_00

I declare under penalty of perjury that this information is true.

Dat@; 10/12/2013 //WM

Server ’s;sig)%?ture

Samantha Sulecki ~ Process Server
Pi'r`med name and title

 

230 North IV|arKet Street
Wilmington, DE 19801

 

Server ’.r address

Additional information regarding attempted service, etc:

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AO 85 (Rev. 01/09) Notice, Consent, and Reference cfa Civil Action to a Magistrate Judge

 

UNITED S'rATES Dlsrrucr COURT

 

 

for the
District cf Delaware
)
Plaz'mij" )
v. ) Civil Action No.
)
Defena’am )

NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE J'UDGE

Noiice of a magistrate judge ’s availability A Urn`ted States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court A magistrate judge may
exercise this authority only if all parties voluntarily consent

You rnay consentto have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.

Consent to a magistrate judge ’s authority The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings

Parz‘ies “ printed names Sigaaiures of parties or attorneys Daies

 

 

 

 

Reference Order

IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry cfa final judgment in accordance with 28 U.S.C. § 63 6(0) and Fed. R. Civ. P. 73.

Date:

 

Disirici lodge 's signature

 

Prinied name and title

Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Dc not return this form to a judge.

 

